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                     Exhibit 1
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                                     FANI T. WILLIS


                             Fulton County District Attorney Elect 2021
                                    750 PIEDMONT AVENUE NE
                                         ATLANTA, GA 30308
                                            404-855-5055



                                       INVITATION LETTER

Greetings Amanda Tipson:

Congratulations! We are pleased to extend an invitation to join the 2021 Administration of the
Office of the Fulton County District Attorney. On Monday, January 18, 2021, you will begin
working in the role of Program Manager (Juvenile); until then, you are expected to handle the
responsibilities associated with your currentrole.

Prior to starting your new role, you will receive information regarding:
              The Administration’s COVID Response Plan;
              The nameand contact information of your direct supervisor;
              The list of expectation and responsibilities for employees assigned to your
              Division;
              Your specific courtroom assignment, caseload and calendars;
              Office relocation dates;
              If applicable, a request for transition memo related to current position;

It is our pleasure to extend an invitation to join 2021 Administration. If you intend to accept this
invitation, this sign, date and return to faniwillisda@fultoncountyga.gov on,or before, Friday,
December 11".

Welook forward to working with you in 2021.




Sincerely,
 Ny       =


Jeff   DiSantis
Chair, Hiring Committee
Office of the Fulton County District Attorney-Elect




                                                              (_) Accept                    (_ ) Decline




                                                              Signature                     Date
                               Case 1:22-cv-05115-WMR Document 1-1 Filed 12/28/22 Page 3 of 6
                                OFFICE    of   the   FULTON   COUNTY     DISTRICT    ATTORNEY     -   ELECT




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      FANI T. WILLIS

DISTRICT   ATTORNEY-   ELECT




 Please join us in congratulating the following Executive Staff on being selected to

 the 2021-2024 Administration.




                       Chief Programs Director                      Information Technology Manager

                               Outside Candidate                             Tashekka Fleming



             Program Manager Adult Diversion                                Personnel Director

                                Open Position                                Outside Candidate



            Program Manager Juvenile Diversion                             Purchasing Manager

                               Amanda Timpson                               Avanell Tracey-Goff



      Program Manager - Community Programs                                   Travel Manager

                       & Volunteers and Interns                              Outside Candidate

                         Lydia Toomer Popoola

                                                                         Director of Trial Graphics

            Director of Victim Witness Assistances                            Michael Makins

                           Chandrika Derricho

                                                                            Records Supervisor

                       Public Affairs Manager I                                Open Position

                               Outside Candidate

                                                                              Justice Liaison

                       Public Affairs Manager II                             Outside Candidate

                                Open Position

                                                                             Jail Call Manager

                                                                               Marlene Allen
3/3/22, 1:43 PM      Case 1:22-cv-05115-WMR Document    1-1 Timpson
                                               Mail - Amanda  Filed- 12/28/22
                                                                     Outlook  Page 4 of 6

       Fwd: Need BIO for website
       Timpson, Amanda <Amanda.Timpson@fultoncountyga.gov>
       Mon 12/14/2020 1:37 PM
       To: atimpson@live.com <atimpson@live.com>


          1 attachments (170 KB)
       BIO_TEMPLATE.PDF;




       Sent via the Samsung Galaxy S7, an AT&T 4G LTE smartphone


       -------- Original message --------
       From: "Willis, Fani" <Fani.WillisDA@fultoncountyga.gov>
       Date: 12/14/20 1:53 PM (GMT-05:00)
       To: "Willis, Fani" <Fani.WillisDA@fultoncountyga.gov>
       Cc: Dexter Bond <dbond@fcda-elect2021.com>
       Subject: Need BIO for website




                                       Fani T. Willis
                                           Office of The District Attorney Elect

                                                         2021-2024




       December 14th , 2020
       Congratulations!



       Our Transition Team has interviewed over 400 applicants to join the
       Fulton County District Attorney 2021 Administration. Those interviews
       are on-going -- many decisions are not yet determined, including final
       titles, salaries and positions. However, I write to inform you --
https://outlook.live.com/mail/0/id/AQMkADAwATMwMAItOTM3ZS0wZjUzLTAwAi0wMAoARgAAA5exA2aXK7BFkLpcNgdCp9gHAMhV1LVqYUtNgnPG…   1/3
3/3/22, 1:43 PM    Case 1:22-cv-05115-WMR Document    1-1 Timpson
                                             Mail - Amanda  Filed- 12/28/22
                                                                   Outlook  Page 5 of 6
       regardless of those pending decisions, you have been selected to join
       the 2021 Administration's Executive Leadership Team. While your title
       and specific role will be communicated to you at a later, I wanted to get
       you started on something special that I have planned for our Leadership
       Team.



       Our Administration's success is directly related to the successes of my
       staff -- especially, my Executive Leadership. As an Executive Lead, you
       will play a critical role of changing and rebranding the culture in our
       office. As such, I want Fulton County citizens to know who I have
       trusted to bring change to this office. Therefore, I am asking that you
       submit a short biography for our website.



       I intend to showcase the qualifications and talent that I see in you -- so,
       I am asking that your Biography covers the following: 1) years of
       practice, 2) years as prosecutor, 3) state bar membership, 4)
       membership in civic organizations, 5) professional experience (including
       any special units) and 6) education and degrees earned. I have
       attached a sample biography to use as a model.



       I am asking that you submit you biography to me on, or before,
       Wednesday, December 16th at noon. Your BIO will be turned over to
       our website designed the next day.



       Thank you and congratulations on joining the Leadership Team for the
       2021 Fulton County District Attorney Administration.




       Sincerely,
https://outlook.live.com/mail/0/id/AQMkADAwATMwMAItOTM3ZS0wZjUzLTAwAi0wMAoARgAAA5exA2aXK7BFkLpcNgdCp9gHAMhV1LVqYUtNgnPG…   2/3
3/3/22, 1:43 PM    Case 1:22-cv-05115-WMR Document    1-1 Timpson
                                             Mail - Amanda  Filed- 12/28/22
                                                                   Outlook  Page 6 of 6



       Transition Team




https://outlook.live.com/mail/0/id/AQMkADAwATMwMAItOTM3ZS0wZjUzLTAwAi0wMAoARgAAA5exA2aXK7BFkLpcNgdCp9gHAMhV1LVqYUtNgnPG…   3/3
